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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



SECURITIES AND EXCHANGE
COMMISSION,

                        Plaintiff,

         v.                                          Civil Action No. 1-23-cv-01599-ABJ

BINANCE HOLDINGS LIMITED, BAM
TRADING SERVICES INC., BAM
MANAGEMENT US HOLDINGS INC.,
AND CHANGPENG ZHAO,

                       Defendants.



                                      [Proposed] Order

         Upon consideration of Plaintiff U.S. Securities and Exchange Commission’s Emergency

Motion for a Temporary Restraining Order Freezing Assets, Granting Other Relief, and Order to

Show Cause Why Relief Should Not Continue (the “Motion”), IT IS HEREBY ORDERED that

Defendants BAM Trading Services Inc. and BAM Management US Holdings Inc.’s proposed

Stipulation and Consent Order is GRANTED and the Motion is DENIED as moot.




                                                 HON. AMY BERMAN JACKSON
                                                UNITED STATES DISTRICT JUDGE



Dated:
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